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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                              CASE NO. 3:06cr122LAC

JOHN MICHAEL TAYLOR

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on January 12, 2007
Motion/Pleadings: MOTION AND MEMO FOR ISSUANCE OF A PRELIMINARY ORDER
OF FORFEITURE
Filed byDEFENDANT                         on 1/8/2007     Doc.# 46
RESPONSES:
                                          on              Doc.#
                                          on              Doc.#
        Stipulated            Joint Pldg.
        Unopposed x           Consented
                                          WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the   foregoing,       it    is   ORDERED    this   24 th   day   of
January, 2007, that:
(a) The relief requested is GRANTED.
(b) See separate order.



                                                                 s/L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
